EXHIBIT C
From: Nellums, Dale <Dale.Nellums@aig.com>
Sent: Wednesday, July 12, 2023 1:10 PM
To: Smith, Thomas <Thomas.Smith@Yescarecorp.com>
Cc: Eckenrode, Tad <jte@eckenrode-law.com>
Subject: RE: St Louis Breach Letter : Mail Christina Brooks (Dejuan Brison) v. City of St. Louis, et al. 2014-PL-06487
7930180762US


CAUTION: This email originated from outside your organization. Exercise caution when opening attachments or clicking
links, especially from unknown senders.

Tom, without even addressing the merits of your request for a defense, Lexington can not do so. Due to Corizon /
Tehum bankruptcy, Lex can not make any payments that erode the aggregate limits. As you know, defense costs do
erode the limit.

E. Dale Nellums
Elizabeth Dale Nellums, J.D.
Senior Complex Analyst | Healthcare Malpractice Claims | AIG Claims, Inc.
CELL 470-733-4638 | dale.nellums@aig.com | www.aig.com


This correspondence is sent by AIG Claims, Inc. (CA License #2607481) as the authorized claims administrator for AIG
Assurance Company, AIG Property Casualty Company, AIG Specialty Insurance Company, AIU Insurance Company,
American Home Assurance Company, Commerce and Industry Insurance Company, Granite State Insurance Company,
Illinois National Insurance Company, The Insurance Company of the State of Pennsylvania, Lexington Insurance
Company, National Union Fire Insurance Company of Pittsburgh, Pa., and New Hampshire Insurance Company. AIG
Claims, Inc. is also an authorized administrator for various self-insured entities.




IMPORTANT NOTICE:
The information in this email (and any attachments hereto) is confidential and may be protected by legal privileges and work product
immunities. If you are not the intended recipient, you must not use or disseminate the information. Receipt by anyone other than the intended
recipient is not a waiver of any attorney-client or work product privilege. If you have received this email in error, please immediately notify me
by "Reply" command and permanently delete the original and any copies or printouts thereof. Although this email and any attachments are
believed to be free of any virus or other defect that might affect any computer system into which it is received and opened, it is the
responsibility of the recipient to ensure that it is virus free and no responsibility is accepted by American International Group, Inc. or its
subsidiaries or affiliates either jointly or severally, for any loss or damage arising in any way from its use.



3 PLEASE NOTE: We have moved to a paperless environment. All communications MUST contain the claim
number in the Subject line.
